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14
                          UNITED STATES DISTRICT COURT
15
             CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
16
17    MARIANO BENITEZ, individually
      and on behalf of all others similarly    Case No. 8:19-cv-00098-JLS-DFM
18    situated,
19                                             JOINT CASE MANAGEMENT
                              Plaintiff,       STATEMENT
20
                                               Date: June 21, 2019
21      v.                                     Time: 10:30 a.m.
22                                             Judge: Hon. Josephine L. Staton
      POWERLINE FUNDING, LLC, a                Place: Courtroom 10A
23    New York limited liability company,
24
                             Defendant.
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 1           Plaintiff Mariano Benitez (“Plaintiff” or “Benitez”) and Defendant Powerline
 2   Funding, LLC (“Defendant” or “Powerline”) jointly submit this Rule 26(f) Report
 3   pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, and this Court’s
 4   standing order.
 5      1.      Statement of the Case
 6           Plaintiff’s Position: Plaintiff brings this putative class action under the
 7   Telephone Consumer Protection Act (“TCPA” or “Act”), 47 U.S.C. § 227, et seq.,
 8   against Defendant to put an end to Defendant’s unlawful telemarketing practices.
 9   Specifically, the Act prohibits any autodialed telemarketing calls to cellular
10   telephones without the called parties’ prior express written consent. The Act also
11   makes it unlawful to place telemarketing calls using an artificial or prerecorded
12   voice absent any prior express written consent. Further, the Act prohibits
13   telemarketing calls to individuals who have revoked any prior express written
14   consent previously provided by the called party.
15           Here, Plaintiff alleges that Defendant violated the Act by placing autodialed
16   telemarketing calls to his cellular telephone without first procuring his prior express
17   written consent. Plaintiff also received calls that featured an artificial and/or
18   prerecorded voice. The purpose of the calls was to attempt to solicit Plaintiff to
19   purchase Defendant’s financial products. During at least one of the calls, Plaintiff
20   spoke with an agent or employee of Powerline and requested to no longer receive
21   calls. Despite this request, Defendant continued to place calls to Plaintiff to solicit
22   him to purchase its products and services. Therefore, Plaintiff filed this instant case
23   seeking statutory damages and injunctive relief on behalf of himself and the
24   proposed Classes of similarly situated individuals.
25           Defendant’s Position: Defendant denies making the calls alleged in
26   Plaintiff’s Complaint, denies that it violated the TCPA, and denies generally the
27   material allegations of Plaintiff’s Complaint.
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 1      2.         Legal Issues
 2           The parties anticipate that the case will involve the following legal issues:
 3           (1)     Whether Defendant violated the TCPA;
 4           (2)     Whether Defendant placed any of the alleged calls with an automatic
 5                   telephone dialing system (“ATDS”);
 6           (3)     Whether Defendant placed any of the alleged calls with an artificial or
 7                   pre-recorded voice;
 8           (4)     Whether Defendant made any telemarketing calls to cellphone owners
 9                   who did not previously provide Defendant with their prior express
10                   written consent;
11           (5)     Whether Defendant is vicariously liable for any alleged violation of the
12                   TCPA by a third-party caller;
13           (6)     Whether Plaintiff is entitled to injunctive relief;
14           (7)     Whether Plaintiff is entitled to recovery of attorney’s fees and costs;
15           (8)     Whether Plaintiff’s claims are appropriate for class treatment;
16           (9)     Whether members of the Classes are entitled to treble damages based
17                   on the willfulness of Defendant’s conduct; and
18           (10) Defendant’s defenses, including any additional defenses that may be
19                   developed through discovery and investigation.
20      3.         Damages
21           Plaintiff’s Position: Plaintiff seeks an award or actual monetary loss or the
22   sum of five hundred dollars ($500.00) for each violation of the TCPA whichever is
23   greater. If Defendant is determined to have acted willfully, Plaintiff then seeks one
24   thousand five hundred dollars ($1,500.00) for each violation of the TCPA.
25           Defendant’s Position: Defendant is not seeking any damages at this time.
26      4.         Insurance
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                                  JOINT CASE MANAGEMENT STATEMENT
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 1           Plaintiff’s Position: Plaintiff does not possess any insurance coverage
 2   applicable to the claims at issue.
 3           Defendant’s Position: Defendant is not presently aware of any insurance
 4   coverage applicable to the claims at issue.
 5      5.         Motions
 6           Plaintiff anticipates the potential need to amend the pleadings to conform the
 7   class definition to information obtained during the discovery process.
 8      6.         Complexity
 9           Plaintiff’s Position: This case is complex based on the extensive discovery
10   that will be necessary. The discovery process is likely to involve a high volume of
11   documents, a large number of parties involved (including third parties), and the
12   likely need to engage in extensive discovery of electronic data—which may require
13   the assistance of an expert.
14           Defendant’s Position: This case does not include an unusually large number
15   of parties, claims, or defenses. Moreover, the factual issues are not exceptionally
16   complex and resolution of the claims/defenses will not require a greater than normal
17   volume of evidence. Therefore, this case does not warrant utilization of the Manual
18   of Complex Litigation.
19      7.         Status of Discovery
20           To date, no formal discovery has been exchanged. The parties intend to
21   exchange initial disclosures on June 14, 2019.
22      8.         Discovery Plan
23           Plaintiff’s Position:
24           (a)     Completion of Discovery;
25           Plaintiff anticipates that extensive discovery will be necessary in the case.
26   The following is a non-exhaustive list of subjects on which the Plaintiff expects
27   discovery will be necessary:
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                                 JOINT CASE MANAGEMENT STATEMENT
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 1         (1)    The number of telephone calls placed by Defendant to Plaintiff and the
 2   proposed Classes;
 3         (2)    Whether the dialing equipment utilized to place calls to Plaintiff and
 4   the proposed Classes constitutes an automatic telephone dialing system;
 5         (3)    Defendant’s policies and procedures for recording and honoring Do
 6   Not Call requests;
 7         (4)    The content and purpose of the calls;
 8         (5)    Whether Defendant’s actions constitute willful violations of the TCPA;
 9         (6)    The number of class members in the proposed Classes; and
10         (7)    Defendant’s obtaining of prior express written consent.
11         Therefore, given the complexity of the case, Plaintiff respectfully requests
12   that the Court enter a scheduling order allowing discovery to commence for a
13   period of ten (10) months. Discovery should proceed with respect to both class
14   certification and merits issues with a proposed end date of May 8, 2020. The first
15   eight months will be devoted to fact discovery with a cut-off date of February 28,
16   2020. Then the last two months will be devoted to expert discovery.
17         (b)    Filing of any motion for class certification and responsive briefing.
18         Plaintiff proposes a deviation from the Court’s regular deadline of six months
19   after the scheduling conference to file any class certification motion. This deviation
20   is necessary because Plaintiff expects a large portion of the discovery related to
21   class certification will be obtained from the Defendant as well as potentially third
22   parties. The extended deadline will enable the Court to make an informed
23   determination following the close of all fact based discovery. Accordingly, Plaintiff
24   proposes that he should move for class certification on or before March 13, 2020.
25   Defendant shall file any response to Plaintiff’s motion for class certification on or
26   before April 10, 2020. Plaintiff shall file any reply in support of his motion for class
27   certification by April 24, 2020. Additionally, Plaintiff proposes that the deadlines
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                               JOINT CASE MANAGEMENT STATEMENT
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 1   for briefing any motion to deny class certification or class decertification motion
 2   shall run concurrent to the briefing schedule for the class certification motion.
 3            Defendant’s Position: Defendant has no objection to the proposed discovery
 4   and class certification briefing dates set forth above.
 5      9.          Expert Discovery
 6            As set forth in attached exhibit, the parties jointly propose that Initial Expert
 7   Reports shall be served no later than March 13, 2020, and Rebuttal Expert Reports
 8   shall be served no later than April 10, 2020. Further, the parties jointly propose that
 9   all expert discovery shall be completed on or before May 8, 2020.
10      10.         Dispositive Motions
11            Plaintiff’s Position: Plaintiff anticipates that a motion for summary judgment
12   may be appropriate regarding the following issues:
13            (1)     Whether Defendant utilized an ATDS to place the telemarketing calls
14                    at issue;
15            (2)     Whether Defendant placed a call using an artificial or prerecorded
16                    voice to place the calls at issue;
17            (3)     Whether Defendant violated the TCPA;
18            (4)     Whether Defendant’s actions constitute a willful violation of the
19                    TCPA; and
20            (5)     Whether Plaintiff is entitled to injunctive relief.
21            Defendant’s Position: Defendant anticipates that a motion for summary
22   judgment may appropriate regarding the following issues:
23            (1)     Whether Defendant violated the TCPA; and
24            (2)     Whether Defendant is vicariously liable for any alleged violation of the
25                    TCPA by a third-party caller.
26      11.         Alternative Dispute Resolution (“ADR”) Procedure Selection
27            The parties agree to select ADR Procedure No. 3 – private mediation.
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 1      12.      Settlement Efforts
 2            The parties have discussed the possibility of settlement and anticipate that
 3   they will continue to discuss the possibility of settlement. At this time, the parties
 4   do not request Court assistance with settlement talks.
 5      13.      Preliminary Trial Estimate
 6            Plaintiff’s Position: Plaintiff has made a proper jury trial demand. Plaintiff
 7   expects that trial in this case will take approximately 5 days. Plaintiff expects that
 8   he will testify at trial and will likely call Defendant’s corporate representative to
 9   testify. Additional fact witnesses are likely to become known throughout the
10   discovery process. Further, Plaintiff anticipates that an expert witness may be
11   necessary.
12            Defendant’s Position: Defendant estimates that trial in this case will take 3-5
13   days. Defendant expects to call Defendant’s corporate representative and an expert
14   witness, if necessary. Additionally, Defendant may call any persons deposed before
15   trial, any witnesses otherwise needed to testify to the authenticity of documents
16   and/or for rebuttal purposes, any and all witnesses identified through the course of
17   discovery, any and all witnesses identified and/or to be identified by any other
18   party, and any witnesses required for rebuttal, including any expert necessary to
19   rebut any expert named by Plaintiff.
20      14.      Trial Counsel
21   Plaintiff’s Trial Counsel: Steven L. Woodrow and Taylor T. Smith.
22   Defendant’s Trial Counsel: Alan M. Ritchie
23      15.      Independent Expert of Master
24            The parties agree that this case is not suitable to the appointment of an
25   Independent Expert or Master.
26      16.      Other Issues
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 1         Plaintiff’s Position: Plaintiff proposes that all motions to add parties and
 2   amend the pleadings be filed on or before September 19, 2019. This deadline is 90
 3   days after the date of the scheduling conference. The additional time is necessary to
 4   enable the parties to engage in discovery regarding whether additional parties are
 5   liable for the calls to Plaintiff. Further, the extra time will allow Plaintiff to receive
 6   responses to discovery and effectuate any subpoenas that may be necessary.
 7         Defendant’s Position: Defendant has no objection to the proposed deadline
 8   to add parties and amend the pleadings.
 9
10                                            Respectfully Submitted,
11                                            MARIANO BENITEZ, individually and on
12                                            behalf of all others similarly situated,
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     Dated: June 7, 2019                      By:      /s/ Taylor T. Smith
14
                                              Aaron D Aftergood
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                                                 aaron@aftergoodesq.com
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 1
 2                                      POWERLINE FUNDING, LLC,
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 4   Dated: June 7, 2019                By:     /s/ Alan M. Ritchie
 5
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  1                           CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via the
  4   Court’s ECF system on June 7, 2019.
  5                                         /s/ Taylor T. Smith
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